                  Case 6:10-cr-00001-LGW-CLR Document 363 Filed 10/24/16 Page 1 of 1
AO 247(10/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(cX2)                                    Page 1 of2(Page 2 Not^^blic Disclosure)

                                                                                                                                    U.S. OlSTiUCT COURT
                                                              United States District Court                                                A,UG')ST/V DIV.
                                                                                    for the
                                                                                                                                    2fli60CT2l» ftl19--09
                                                                    Southern District of Georgia
                                                                         Statesboro Division
                                                                                                                                  CLCPit
                       United States of America                                                                                           Sb.DIST.OFGfc.
                                        V.

                                                                                          Case No: 6:10CR0000I-1
                        Elijah Nahum Simmons
                                                                                          USMNo: 15157-021
Date of Original Judgment:                         July 15, 2010                          James Wrixam Mcllvaine
Date of Previous Amended Judgment: April 25,2016                                          Defendant's Attorney

(Use Date ofLast Amended Judgment ifAny)


                        Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C.§ 3582(c)(2)

           Upon motion of [^the defendant Qthe Director ofthe Bureau ofPrisons Qthe court under 18 U.S.C.
§ 3582(c)(2)for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § IB 1.10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
 X DENIED. I I GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the lastjudgment
                           issued) of              months is reduced to                                                                                              .


                                                  (Complete Parts I and II ofPage 2 when motion is granted)




Except as otherwise provided above, all provisions ofthe Judgment dated                              July 15.2010.          shall remain inj|jfFect.
IT IS SO ORDERED                                                                                                                 Z
Order Date:                                  UO/U
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                                                                                          J. Randal Hall
Effective Date:                                                                           United States District Court
                        (ifdifferentfrom order date)                                                             Printed name and title
